A ase We coc Document 3 Filed 10/22/01 O10: PagelD 32
Wor

N AL IN THE UNITED STATES DISTRICT C “owner
Rr

FIL

 
     

OF’ TEXAS

   
 

FOR THE NORTHERN DISTRICT OF THXAS

\" CLERK, U.S. DISTRICT OT CouRT
Deputy ty

CRIMINAL NO. 3:01-CR-323-R

DALLAS DIVISION

 

UNITED STATES OF AMERICA

Vv.

+ + F HF

JAMES MICHAEL DAVIS

MOTION TO UNSEAL

COMES NOW the United States of America by and through the
United States Attorney for the Northern District of Texas and
respectfully moves this Honorable Court for entry of an Order
unsealing the indictment filed on October 16, 2001 as to the
defendant, James Michael Davis, named in the case referenced
above.

Respectfully submitted,

RICHARD H. STEPHENS
United States Attorney

 

LYNN HASTINGS]

Assistant United States Attorney
Texas State Bar No. 09209700
1100 Commerce Street, 3rd Floor
Dallas, Texas 75242

(214) 659-8633

MOTION TO UNSEAL

3
